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  IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                 DISTRICT OF OKLAHOMA

(1) JAMES LEGROS, SR. and
(2) JACQUELINE MILIOTO, as
next friend to D.M., a minor, as

next of kin of JAMES LEGROS,
JR., deceased,

                         Plaintiffs,
                                        Case No. 18-CV-261-RAW
vs.

(1) BOARD OF COUNTY
COMMISSIONERS FOR
CHOCTAW COUNTY; et al..


       Defendants.

       PLAINTIFF JACQUELINE MILIOTO’S RESPONSE TO
       DEFENDANT’S MOTION FOR PROTECTIVE ORDER

      Plaintiff, Jacqueline Milioto, as next friend to D.M., a minor, as

next of kin of James Legros, Jr., deceased, responds in opposition to

Defendant Board of County Commissioners for Choctaw County’s Motion

for Protective Order. In support of Plaintiff Milioto’s response, Plaintiff

states as follows:

                            INTRODUCTION

1. This case pertains to the arrest, detention, and subsequent death of

   James Legros, Jr. after he was arrested by the Choctaw County

   Sheriff’s Department on October 25, 2016.
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2. Legros, Jr. was arrested because he appeared to be intoxicated;

  thereafter, he was transported to the Choctaw County Jail.

3. During Legros, Jr.’s detainment at the Choctaw County Jail, he

  displayed paranoid and erratic behavior.

4. Despite Legros, Jr.’s continued display of paranoia and erratic

  behavior for four (4) days—Choctaw County Sheriffs continued to

  hold him in custody without any form of medical evaluation or

  treatment.

5. On October 29, 2016, James Legros, Jr. was found hanging from a

  blanket in his cell, unresponsive, and was pronounced dead shortly

  thereafter.

6. Legros, Jr. had several unexplained abrasions and contusions on his

  head and body. It is unclear how often, if ever, Choctaw County

  Sheriffs checked in on Legros, Jr.—as is required by Oklahoma Jail

  Standards when dealing with an individual who appears “to have a

  significant medical or psychiatric problem, or who may be a suicide

  risk…” See Okla. Admin. Code 310:670-5-8.

7. In an effort to discover the circumstances surrounding Legros, Jr.’s

  untimely death, and any steps or measures taken by Choctaw County

  Sheriff’s Department to ensure Legros, Jr.’s safety, Plaintiff Milioto




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   sought to obtain the records that are the subject of this Motion for

   Protective Order.

8. Plaintiff Milioto seeks the release of any video and audio recordings

   or photographs made or taken within the Choctaw County Jail while

   James Legros, Jr. was in custody, as well as the Policies and

   Procedures of the Choctaw County Jail or Choctaw County Sheriff’s

   Office as they relate to the operation of the jail.

9. Plaintiff agreed to a protective order regarding:

            a. performance appraisals or disciplinary records related to
               non-parties,
            b. social security numbers and dates of birth of any persons,
            c. unlisted home addresses or unlisted home phone
               numbers,
            d. educational records of any persons to the extent such
               records are covered by 20 U.S.C. § 1232g(4),
            e. personnel files of jail or sheriff’s office employees,
            f. and personal contact information of present and former
               employees, officers, or agents of the Defendants.

10.   Plaintiff does not agree to a protective order regarding: jail

   policies, photographs, and surveillance video.

11.   On February 20, 2018 the State District Court Judge entered a

   Court Minute for “Counsel to Submit Order.”

12.   Plaintiff believes the State District Court Judge was requesting an

   Order pertaining another cause-of-action involving the same counsel

   and Defendant. The other cause-of-action is very similar—on the



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  account, both claims allege abuse by Defendant’s employees and jail

  surveillance footage. Counsel discussed the other cause of action at

  the same hearing where this Protective Order was discussed, and

  there was an agreed order to be submitted in the other cause of action.

13.   Defendant’s acknowledged to Plaintiff’s counsel that the State

  District Court Judge may have been confused by Defendant’s attempt

  to submit Defendant’s version of the Protective Order, without

  explanation that Plaintiff still objected to it.

14.   After the State Court filed Defendant’s Protective Order, Plaintiff

  filed a ‘Motion to Clarify’ whether the Protective Order was filed in

  confusion of similar litigation.

15.   Thereafter, Defendant provided the requested video, photographs,

  and policies to Plaintiff in agreement that the provided documents

  would be protected until the State Court ruled on the Motion to

  Clarify.

16.   On August 1, 2018, Plaintiff removed this cause-of-action to

  Federal Court.

17.   Subsequently, both parties agreed this Court would be the proper

  location to litigate Defendant’s Protective Order.

18.   There is no dispute that the requested videos and documents are

  discoverable in this litigation, inasmuch as they are relevant and


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   reasonably calculated to lead to admissible evidence. 12 O.S. §

   3226(B)(1).

19.     The issue is whether, under Oklahoma law, citizens are vested

   with the inherent right to know and be fully informed about their

   government, and whether government encounters with its citizens

   should be transparent and available to the public—rather than

   cloaked in secrecy.

   I.     DEFENDANT FAILS TO MEET ITS BURDEN TO SHOW
          RECORDS ARE NOT SUBJECT TO DISCLOSURE UNDER
          THE OKLAHOMA OPEN RECORDS ACT.

        The Oklahoma Open Records Act (“O.R.A.”) governs the public

disclosure of records which are held by governmental entities in

Oklahoma. It is well established public policy of the State of Oklahoma

that the people of Oklahoma are vested with the inherent right to know

and be fully informed about their government. See Oklahoma Ass'n of

Broadcasters, Inc. v. City of Norman, Norman Police Department, 2016

OK 119, 390 P.3d 689 (Okla. 2016). The Oklahoma Supreme Court

acknowledged the purpose of the O.R.A. is “to ensure and facilitate the

public's right of access to and review of government records so they may

efficiently and intelligently exercise their inherent political power.” 51

O.S. § 24A.2; Oklahoma Ass'n of Broadcasters, Inc., 2016 OK 119, ¶ 15.

Furthermore, “[b]ecause of the strong public policy allowing public


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access to governmental records, we must construe the Act's provisions to

allow access unless an exception clearly applies, and the burden is on the

public agency seeking to deny access to show a record should not be made

available.” Id. (citing Citizens Against Taxpayer Abuse, Inc. v. City of

Oklahoma City, 2003 OK 65, ¶ 12, 73 P.3d 871, 875) (emphasis added).

      Defendant fails to name an exception and clearly articulate why

an exception applies. After a long recitation of procedural history,

Defendant dedicates only one (1) paragraph toward meeting its burden

of showing that the requested records are not subject to public disclosure.

(See Defendants Motion for Protective Order at ¶ 18.) Moreover,

Defendant fails to cite a single case or statute. Rather, Defendant baldly

purports that the surveillance footage and records should be placed

under protective order because the they “pose a security risk to the safety

of the inmates, employees and citizens of Choctaw County.”

      Defendant’s assertations are unfounded and unsupported by law.

Defendant fails to even identify the statutory exception applicable to

their Protection Order. Furthermore, Defendant fails to clearly

articulate how such an exception would apply—or even explain how the

Protective Order is necessary for the safety the “inmates, employees[,]

and citizens of Choctaw County.” Id. (emphasis added.) Defendant seems

to base their argument entirely upon the possibility that the surveillance


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footage and records might end up on the internet—and therefore,

Defendant claims, this is somehow dangerous to the public. (See

Defendant’s Motion for Protective Order, ¶ 18). But, Defendant fails to

connect the two claims.

         Defendant’s failure is likely because such claims are unfounded

and contrary to common jail/prison practices—and their own practice.

(See Ex. 1, photos of various county jails and correctional facilities in

Oklahoma) (See Ex. 2, photos pulled from a news video shot inside

Choctaw County Jail.)

   II.      VARIOUS COUNTY JAILS, INCLUDING CHOCTAW
            COUNTY, HAVE PREVIOUSLY RELEASED SIMILAR
            RECORDS WITH NO “SECURITY RISK” POSED

         Defendant’s sole rational for seeking a protective order on

Plaintiff’s requested records is because “video, recordings and

photographs taken within the jail pose a security risk to the safety of the

inmates, employees and citizens of Choctaw County.” (See Defendant’s

Motion for Protective Order, ¶ 18).

         However, this claim is wholly unfounded, as no “security risk” has

prevented a multitude of other Oklahoma county jails from releasing

video, photographs, and even allowing news crews to come within the

jails or correctional facilities to film video footage that is to be broadcast

on the news. (Ex. 1). Attached to this response are photographs from the


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Oklahoma State Penitentiary in McAlister, Oklahoma; Oklahoma

County Jail; Cherokee County Jail, Tulsa County Jail; Garvin County

Jail; and the Joseph Harp Correctional Center in Lexington, Oklahoma.

(See Ex. 1). These results are from a cursory search on YouTube and

Google—meaning it is nothing novel to have jails release materials that

are substantially similar to what Plaintiff Milioto is requesting.

         To demonstrate the extent to which previous facilities have

released this information voluntarily, without the worry of a “security

risk”, the Oklahoma State Penitentiary allowed a one (1) hour

documentary to be made. The State Penitentiary allowed the camera

crew and others access to the interior aspects of the penitentiary. This

documentary was made as recently as 2016. The documentary has since

been posed on the internet.1 Additionally, a NewsOK article provides a

panoramic view of a variety of rooms within the penitentiary.2 Anyone

with internet access may view Death Row, the Rotunda, or even the

Death Chamber. This article also posts a plethora of photographs from

inside the facility. (See Ex. 1).

         The Oklahoma County Jail allowed KOCO News 5 Channel in

Oklahoma City to tour its facility after the Oklahoma County Jail earned


1
    https://www.youtube.com/watch?v=YXE73dJ4DeA
2
    http://newsok.com/article/3630640


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a      national    accreditation.3        The     referenced     video    shows     the

communication center of the county jail, with all its security camera

locations and angles, as well as the cell block, common area, and

individual cells.        The Oklahoma County Jail likely faces far more

“security risks” than the Choctaw County Jail—yet, Oklahoma County

Jail did not deny a news crew access to its facilities.

         The Garvin County Jail released internal security footage of an

inmate escaping in April 2017, after which the video footage was posted

on the internet and broadcast on the evening news.4 This video not only

shows the interior of the jail, but it could essentially be used as a “how-

to” guide for others contemplating the release of an inmate by force.

         The Defendants state there is a concern posed by the release of the

requested records. However, this concern did not prevent the Garvin

County Jail from releasing such video footage, despite the fact that an

inmate had already escaped from that facility. As part of different news

stories and exposés, access to video footage or photographs of the Tulsa

County Jail have been voluntarily permitted, as well. (See Ex. 1).

         The jail surveillance footage showing the beating of Daniel Bosh

by detention officers at the Cherokee County Detention Center is readily


3
    https://www.youtube.com/watch?v=SAm2JG8L9-M&feature=youtu.be
4
    http://kfor.com/2017/04/03/police-release-video-from-garvin-county-inmates-escape/


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available for viewing online.5 This video, and the beating it depicted,

formed the basis of Bosh v. Cherokee Cty. Bldg. Auth., wherein the

Oklahoma Supreme Court recognized a cause of action under the

Oklahoma Constitution for excessive force. 2013 OK 9, ¶ 3, 305 P.3d 994,

996, as corrected (June 28, 2013)(“Nevertheless, video surveillance of the

events captured images of one of the jailers, the defendant Gordon

Chronister, Jr. (Chronister), approaching the detainee and grabbing him

behind his back.”).

       Finally, and most damaging to Defendant’s position, Defendant

itself voluntarily released video footage of the inside of its facilities,

including but not limited to the communications center, surveillance

system, Sheriff Park’s office, and holding cells.6 (Ex. 2). The story

involved the Oklahoma Department of Correction’s cancelling of its

contract with Choctaw County Jail, and how the loss of funding would

affect the jail. There, Defendant voluntarily allowed extensive access to

the jail. This video was release in Spring of 2017, just months after

Legros, Jr. hung himself in the same jail.




5
  https://www.liveleak.com/view?i=6e9_1323980809
6
  http://www.kxii.com/content/news/State-inmates-to-be-removed-from-10-county-jails-
including-the-Choctaw-County-Jail-415821733.html



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       Defendant is speaking from both sides of its mouth: When the

footage appears favorable to Defendant (i.e., releasing video to secure

funding after a lost D.O.C. contract), then Defendant claims no “security

risk.” However, when a person dies in its jail, Defendant feigns a

“security risk” to prevent open citizen access to the very jail, it so willing

showed footage of just months later. This is not how transparent

government works. See Oklahoma Ass'n of Broadcasters, Inc., 2016 OK

119.

       When there is so much evidence of county jails—including

Choctaw County which voluntarily allowed the news media to post

photographs and videos to the internet—Defendant’s arguments for a

protective order does not hold water. There are no “security risks” posed

by the release of the requested records, nor is there any valid reason to

require such disclosure to be subject to a protective order.

       The law requires Defendant’s Protective Order identify an

exception and show how the exception clearly applies. Defendants failed

to meet their burden. The bald claims that the video and documents

would reach the internet and somehow pose a risk to others are not only

unsupported, but also contrary common practice throughout Oklahoma.




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                             CONCLUSION

      Plaintiff made these requests for records in an effort to discover

the truth of the circumstances surrounding James Legros, Jr.’s death,

what was done to prevent it, and what should have been done. Along

with Plaintiff, the public has an interest in and a right to the continued

and good faith transparency of its government. The refusal to release

these records would do nothing but undercut the relationship between

law enforcement and the citizens they protect.

      WHEREFORE, for the foregoing reasons, Plaintiffs respectfully

requests the Court to deny Defendant Board of County Commissioners

for Choctaw County’s Motion for Protective Order, except for those

records Plaintiffs’ counsel has already agreed to being produced under

Protective Order.

                              Respectfully submitted,
                              LAIRD, HAMMONS, LAIRD, PLLC

                              s/ Jason Hicks
                              Chris Hammons, OBA # 20233
                              Jason M. Hicks, OBA # 22176
                              1332 S.W. 89th Street
                              Oklahoma City, OK 73159
                              Telephone: (405) 703-4567
                              Facsimile: (405) 703-4061
                              E-mail: chris@lhllaw.com
                              ATTORNEYS FOR PLAINTIFFS




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                        CERTIFICATE OF MAILING

      I hereby certify that on January 15, 2019, I electronically transmitted

the foregoing document to the Clerk of Court using the ECF system for filing
and transmittal of a Notice of Electronic Filing to the following ECF

registrants:

Stephen L. Geries, OBA #19101
COLLINS, ZORN & WAGNER, P.C.
428 N.E. 50th Street, Second Floor
Oklahoma City, OK 73105
Telephone: (405) 524-2070
Facsimile: (405) 524-2078
Attorney For Defendants Board of County
Commissioners for Choctaw County,
Zach Dillishaw, Stewart Stanfield,
Jeffery Epley and Terry Park, in their
individual capacity.

Jessica L. Dark, OBA No. 31236
Robert S. Lafferrandre, OBA No. 11897
Randall J. Wood, OBA 10531
PIERCE COUCH HENDRICKSON BAYSINGER
& GREEN, LLP
1109 North Francis Ave.
Oklahoma City, OK 73106
Phone: 405-235-1611
Fax: 405-235-2904
Email: jdark@piercecouch.com
Attorneys for Defendants Schonna Smith and
Debora Clay

James L. Gibbs, II, OBA No. 15689
Goolsby, Proctor, Heefner & Gibbs, P.C.
701 N. Broadway Ave, Suite 400
Oklahoma City, OK 73102
Phone: 405 524-2400
Fax: 405-525-6004
Email: jgibbs@gphglaw.com
Attorney for Defendant Edna Casey

                                          s/ Jason Hicks
